                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


MICHAEL DREWS,

             Plaintiff,

      v.                                            Case No. 20-CV-702

SUSAN PETERS,
HANNAH UTTER, and
CASSANDRA BAIER,

             Defendants.


                                      ORDER


      This case was referred to Magistrate Judge Duffin for early mediation. The

case did not settle and has been returned to this court to address non-dispositive

pretrial motions.

      Plaintiff Michael Drews has filed a request that the court order counsel for the

State defendants to provide him with a copy of all his medical records. (Docket # 41.)

Drews states that he agreed to sign a health care release after counsel said she would

give him a copy of “everything she gets.” He includes two letters to him from counsel.

In the first letter, dated September 8, 2020, counsel thanks Drews for signing his

health release and states they will provide him with a copy of his records after they

receive them. (Docket # 41-1.) In the second letter, dated October 9, 2020, counsel

states that his PSU and HSU records number over 5000 pages and that they can

provide him with the 5000 pages at his expense. (Docket # 41-2.) Counsel also states




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that they are in the process of narrowing down his HSU records to his past few

months of treatment and that they will provide him with that narrowed set free of

charge once it is ready. (Id.)

      The State defendants contend that the court should deny Drews’ request for

court order because it is unreasonable and unduly burdensome to expect them to print

and ship a bale of records (10 reams of paper). (Docket # 42 at 3.) They also state that

Drews’ motion contains a gross misrepresentation that the only reason he agreed to

sign the medical authorization was because defense counsel said she would provide

him with a copy of everything she gets. (Id. at 1.) The defendants point out that Drews

signed that medical authorization on August 31, 2020, and that the authorization

says that copies will be provided at his expense. (Id. at 2.) The defendants state that

they have provided Drews with a free copy of over 300 pages of his records as a one-

time professional courtesy. (Id. at 2-3.) And they assert that Drews can request to

review his medical records at prison and that he can request photocopies. (Id. at 3.)

      As an initial matter, I have not yet issued a scheduling order setting the

discovery deadline. Thus, Drews’ motion is premature. Moreover, the court agrees

that it would be unduly burdensome to order the defendants to provide Drews with

all 4000 plus pages of his HSU and PSU medical records. Drews has been in prison

since 2008 and many of these records are likely not relevant to his claim in this case.

Drews may request to review his medical records at prisoner and he may request

photocopies of records that he needs.



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     THEREFORE, IT IS ORDERED that Drews’ motion for order (Docket # 41)

is DENIED.

     Dated at Milwaukee, Wisconsin, this 4th day of November, 2020.

                                          BY THE COURT:


                                          ______________________________
                                          NANCY JOSEPH
                                          United States Magistrate Judge




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